0®6598018-0VM.-(5@1¢£B[1MT]SS mmmq$z§§|edrl®§{®zd$fv@e§§ag& 1 of 7 Pageb|§e§§ 2

§N THE CIRCUIT C()URT FOR TH{€ FI¥"TH J’{H)ZCIAL €"?§RCUZW§’ C()`UR'“!`
!N AND F€)R HI§RNANY§Q {:OUNTY, FLG§{§I}A
(.`§VIL DIV§SIGN

Pazzzeia Mar§€ z\/i§ik:§z

w C`.asc: Ne>:: §Q§G(:K@€j?§ (: /3{/3} X§/Y/}X

l'_}i\fi>;§<\z§.

Arm Maz‘ic: Vzm H€>m,
§§remiah jghn Pau§ Siin$<m, and
G€icc) G€mzml lzes;ur;mce C@x'npz:i:“:y

l")e':f`<zmiams.

f
P!§zin€i§f’s First C€)m;;§a§ni

C,c)mez; nczw, the §>laintif`§; Pame§a Mar§€ z\:?iHQr, by and through Ihe unai@r§§gzwd zxz;mm@y
and sums the d€f’cmfam$, Ann Mari€ Vzm H€)m, and lemmiah .?Ghn Pau£ St§ns@m and Gs:iw G€ncs'ai
fn§uz':mc<: Ce:zmpan§; and ailegcs;;

G€zwra§ A¥l@ga%§oz\s'

1( Thi$ is am actiorz for damages in excess Gi`$ l 5,0{3€).
2K At a!§ thng z:\a€<:z‘ia¥ ?a§:reirz, the plaintiff Pz\m€§zz §‘x~iar§e Mil§er , lived in sz‘ing §~I§l§

axch szs; 3 z‘e§ic§€ni c)f!~§ema:mi€z C<"m:zty, th>z‘§€ia.
3. !\t 311 i`z:zzes; xzzm;<zr`la§ hezczim ihs def`cndml€, mm Mari<: V€m Hc)r*n , was a :‘C§;id€m of
H@mmzaio Ci)umy, Pk)rida.

4. ;~‘\L all €§m€:s znatcz“ial herein the defendazal, §er€mia§z j@hn Pau! Stinson , W‘az; a

raisid€zm Qi`i~femzmdo §T€zzmiy, §~'Ioric'ja.

0®6598018-0VM.-(5@1¢£B[1MT]SS mmmq$z§§|edrl®§{®zd$fv@e§§ag& 2 of 7 Pageb|§e§€ 3

5 /\i all €§m€s; mm€ria§ hes'ein, Daf`ee)cianf, G@i:;® {"jezlizr:zl §n&;uralz<;:r: C.`Ompzmy , i:’\' 21
c\;:~p@rat§on cioi;z§ buz:irw;s:§ in tim Szzsw: cde F!@ric;ia 33 mm in§mr;mm <;ompany and §§ar; buz;‘m@z;z:
Lz§i`“§c€:: fof fhc zrzlnsz;u§i@m of iis c;z:;t<)m;u'}-‘ business iu €:Tcmniyz I*`loc'§elz-L

€S. Gn m aimed N$v€mbez‘ l§§, 2016_, Plaimii`f, Pame§a Marie: M§§k;:r, was :;)p€m¥in§, az
2912 Ch€\sroie€ }§c;ui:mx. and xvsz iz'avc:li:zg on linden Dr'§\se: §§ 0;‘ near the intesrs;cc£icm 05 Drysc?aic
SL. in }~fcmanc§o C©um§y: §"`l<;)ricia.

?'. A£ ibm time and p§aee, Dcf`end:/zm, jeremiah john P;ml S;mzzim, wan cp€‘ra€ing 3
2005 §`\/§ercury Sablc , ic'i<:rxlii`zed by VIN# §Y\-'TEFMS()QOSAEESGK)Q, and was irav€ii§zg SGUTH {)N
l.in<ieez I)J‘ at mr zaear ih€ izat€rsc‘fcti<m <)f"[)z"yz;daie St 3a §'§Cm:mdc§ (:`C)un€y, F§orid&

3» A§ tim time amf p§zz<;cz, th:: giber re§`emzzcc:d 2005 Me:r::ury Sablc 1 wsz mvn€ci by
D€f<mdam_ Ann Mar§@ \/an Hom ,

9. A€ ibm l§mc and place, Dz:f`€ndani, lemmiah .§c:>hn szl Siin.<sc)n, had the express
perzzzi:§s;§<m cf D€:§cmdam, mm M€zri@ V€m Hem, w <)p€r‘;zte ihcz aboch ref`@r@m:€~:d 2(3()5 M€rcm‘y
S;§E)§e g

EG. At ;hat time and pfac@. D»@J‘.`¢':ndzm€.; j<zz‘emizzh §<)§m Paul S:ins€>m negli§;cm§y ogzerazed
m mz§§ntained Jh€: mmth v<z§zéciz: 50 that it cg§iidcd mill the plaint§i`?§ motor vehislc.

§ 1. S;)<:o§f`§cally. fldcf`cndam§ j@rcm§€ah Joh:: Pzzu] Sti:'s::ozi, failed m mi}i;:<: due cam wham
he neg§igen€iy mm czzdcci P§mela Mm‘ir: Mi}!€r"$ vehicle Wh§§e Shc was Smpp@:i wait§ng m make a
l@f§ wm mm Dry:z:da§¢: Si'.

}2., At that time zde p§¢"s<;e, D€:§€ndmm laz¥c:miah ja)h§z PQ;§I Siin§cm , sz$ an §nixz§;ur€d
mc)€m§s;t as thai term is defined in tim E`~`§oz‘id& Siaf;ztes ami in the at€ezciz<:d irz§;urazzce p;)lie:§ess.

C€)um I*~ Nev£§gencc {j§;zizzz A<¥:zinst Jcrc¥nizz¥; .}“ehn Paul StinS€m

0®6598018-0VM.-(5@1¢£B[1MT]SS mmmq$z§§|edrl®§{®zd$fv@e§§ag& 3 of 7 Pageb@e§7

\3. §*l€zlntii"i` reali€:~ze$ and ine@rp<);'z>:tes mm Ih§§: flian 311 of tha ;t)m‘agraphs ul` the

"G€neml Allcgm§<m§"` ol`€his Cc)azlplz)im 33 if the same were more S§)ec:§l`)i;£\lly Sc::t Y{:s'th hereinz and

luri§z@z‘ zzllz:ga:.$:

14q D@l&zrzciant,.l€:r€mlizh him Panl Stins®n , had 3 dizzy 10 1156 reelsml§zblc care in the

Qp€a“zatéi)n 05th §l\l:§;:;<;t mma'>r vehicle

§5‘ Di~:i"endzim, §¢zr€mizzh }le szl Siins<m, breached thai duty in ime er mims 05 l§z@

lhllowlng \\:;x§*:§:

ez, Erivizzg aa§”€les§ly;
l). £?>€ce;‘)xzaizag :lis€mc.red §);¢ engaging in other asctévétl@:z;
c, F;zili:)g 10 give due regard in aitcn€imz m afl attendant e:§r<:uaa§§fzim:es5
inclzzs:fin§ ihs zuzidway and all traflla: within §\§::f?ler‘ wm of r§$l<;
nfl F`ai§§ng w law az pr<;)§)<::‘ laml§oul;
Q. Dzivizzg ali 33 excessive Sp€€<;l For the r€)aclway €cmd§ii<)sa$; and
f. O€h‘erwizié being negligent in th<z operati<m of a lamar veh§¢[e.
lé. 2\3 23 direct and pmx§mat€ remle c>i`€§i€ n<:;.;l§g€nce 05 the dcflmclam; j`cx's:m§z\§l J€)lm

szl St§zascm , €he plazérzt§l"£ §.""amc‘la Ma¥ie M§l£cr, :;ufi`€r€d bmiily injury and reading pain amf

Sle`f€rlng, disabi§§€y, disfiguz‘emem, menial pain amd angzzé:;h, 1933 ol`ca;mcify fur the €n_ji)yaza@m of

lif`€, e><:;';&ns@ @i" lxr:>.fz;)l:al§;eta€lc>n5 medical and rzur$izzg maris and tz“’catmem. logs czi`em'zz§z:g:;. lo.§:; mo

zab§§ity m earn zaz€zr\ey ;zm§ aggravation 95 21 pr€vi@nsly existing ¢:€)zzdl§i<>n. 'i`he loz:s:ez: arc sithw~

przrm§mem or A:Gn¥`:§mzin§; emil Plaimlfl"\v§ll sul`§:`@:* tle l<“)$£~;@§; in tha futura

thrz:f"<am, flsa ;)§a`rm§l`l; Pamc:§a Mari€ M`zll€x; gus-331 £h€ dei"€:ndaz“ig j€r€miah }<:)lm l~’aul

SE§nScm , mail dcmam§s ju€lgmc:‘m' foz“ damages irs am zim<)§mi exceeding F-`il`t€~;czz '?`hollsa:zcl l"><)llms;.

e:~;cls,z$ivi: 0§`<;‘03¥3. against il‘le dei“enclani, amf demeade a :zial by_§ui'y.

{Ymm§ ll - Vi§:ar§e§;§ liability Claim Again§€ mm Mzzz“ie ¥’:1:\ Hm';)

4

0®6598018-0VM.-(5@1¢£B[1MT]SS mmmq$z§§|edrl®§{®zd$fv@e§§ag& 4 of 7 Pageb|§e§$ 5

l?. Plaim§i"i` mediach and §r)€.m“pmat<:$ mm €§zé:§ C,`<:mm all ol" Eh€: paragraphs <)l` the
“General All<:`§;;z!lcms;" and §ha)z§€ of C<:u.mf § zzi`€his (,`<mz;i)lainz 33 if 1§1<: isam€: were mere specifically
sat ibz'tl§ Ezcrc§§zz and §`ur£hcr :lll€g€e;:

18. 'l`l:c: masth vehicle ewneii by Dei"€:m;¥nzl€, Arm l‘v`lm§c: Vzm lloz'n, Wass 21 dizzig€z“olzs
ilzs;tz'umentzzlit;.»’ lander l"`lo;‘id& l£iw, sami W&§ perm§z::;§\»'cly c»pz':z’;xt€d by D@§'“@mlam, lercmi;sll ~l\:')?m P;ml
S?inscm.

l<}, B»::cauz;e iba :;ul:)jm:t nmmr‘ velzic§@ Wa§; a dangerous inz;€rlzmenmlity, l)s:l?::zd;mi,
firm l\!fzzl‘lrz Van l“§am“, is \fic;zxriz)§xsly l§:il)§':z lbr all c)l`z§§:: damages causal by the lic§;ligc‘ezce 0{`
D€{€mizmt, jewmmh mm Pm\l Slln$o:z, in the €)pwr:zzi<m of`t'la<: :;z:i)je<;€ motor \~:‘h§<:fe.

Zl). §)€fi;mclam§ l€:mm§ah _l{)lm l’aul Sl`ms<zm had a duty §§ u.<;c reasenal)lc mm in the
c)p€rai§<)n c)t`thc: szubjcc!; math vehicle

lly D€Yendam, lemmth }Dlm P&ul §§tin§on, Ezl'eacla€~d mm duty 331 cme 0;~ mol‘@ 0§`!}2@

fizl towing ways:

al fhwng cz\€el©$$ly;
b\ Bec<')m§ng disfmc&<:<i by engaging in mbm aczivii§<:s;
C. Failing m give due regard ila zattc:nl'§§n tc)» all attcnd:zni C§r<‘:um$lan€€:§;,

including eha roadway amf all traffic wi€§'z`m hisll‘r<:z~ zoan L>f ri$l<;

€l. Fa§ling m kemp az §:)mp%z‘ l<)c>l<'mal;
c l)rlving m an cxc€:§z;i\;'c S;)Ccd fm 1§:€: roadway mililit§€)n§; and
§ Otl‘:l@rw§zs@ being n€glig@nt in i§ae clearazi<>n OF la sm)ti)r vehicle
22. /\S a din:<;i md pmxim€it€ maull 0{ fhc zz€gi§genc@ <)i” the defendazzg }Grcmiala .l<:)hn

P:a.ul Stins<)n__ the plainlii`l", §)am€:la Ma€i¢;: §N-‘llllez“ , SLl§l'E::‘z:d bodily injury and hawking pziez and
Sufl“e:rirzg, disal)§§§ly, disfiguzem€z:l§ menta§ paizz and angi:§$h, loss Oi`<;zf§)au§$y fm the enjmyxn»;:nt <)l`

l§l`@, expense Qf` lm§pltzzl§zatlon. medical and marang isser and treatm€:m, lz):ss Oi`szmlz\gs, loss 521m

0®6598018-0VM.-(5@1¢£B[1MT]SS mmmq$z§§|edrl®§{®zd$fv@eel§ag& 5 of 7 PagEHBeBQ

ability m sam money amd a§gmvmi€m oi` az previously existi:zg, cmiil§t.§e)rz. Th€ §05;5§::; me citizen

perzzi:mml er ci“)m£mz§ng, and P§;ziizlil`f`\xi§l z;iei"'f`er Tl‘z€ lo$§~;@$ in the iiimr:;‘.,

Wlicl'c§br€, fha plzxixitif`§`, lemcla l‘:lzxric l\f§§ll<::'\ §;m:% lhc dcl`<:nclzaizl, finn Z\-“iz,zi*i£: \/zzn l'l®m ,

ami demem<l§judgm€m for ciam&g»;@$ iii sm amv:)lmr exceedng Fii%e€zn 'Ylic::z$arzd DG!|:§Y$, cxclu§iva c§f'

COSB, against §§H: clel’cridnm, and demaszci§ 3 §z'i;zl iiyjury.
{?emzat iii ~ Unizisu¥'e£i Mot€)rist C§a§m Af>*ainst Geie<; {;exierai I!zsuz“é:zzec Ce'.m:pam'

23 Pl;iimif`f unlicch and incorporates mm C¢:)mxi lll all of the paragraphs of §li<:
‘*Ge::wral All@g&tém“is”" oft§zis €Omplaim 33 §i`th@ same view more spc‘c§'Flwlly 561 f¢';>:“zli hereby
and iixrilicr nileg<:§:

24. U:ilnsumé D€t`€m:i;m; ,l€rem§ali joler Pm:§ Si':rz$€>:i , had a amy to exercise due
cure in the <);)€ra€§©n ei“th€ m€)mz‘ v€l’s§cle:l

25. Ai the time willis accidem, mail/1311er Del'endnni, kremiah mini Paul S€iras€m §

breached that duty in 036 m m¢:z:"€ Ol`t§z¢:‘ F£)i§<)wirzg ways:

za. ljr§vin§.; caml@ssly:
h `Bcc:)ming cliS€m\:ted by engaging in miner activiiies;
c. Fa§iing 20 give clue ze§am:i in atzen€icm E<":» all zirt@ilc§azzi C§i‘ciams€mi<:es;,

including the rc§a€iwz¥y and aill tz“§;ii`£i;: xvilhin laiSflz<zr acme <)l`ri:ak;

ci, Fzz§l`mg 10 keep a pmpi:r lai<)lu);zi;
c:a §}riving at an excessive :z;m:d fm the roadway conditions; and
i`. Otl\ezwiz;:: being negligent in Lhr: L)peratilm ol`az m<)im vcliicle.

26. m that time and placey uninsurcci Del`€n€laut, }@z"¢:m§ah }c)lm Paui Szinsozz ,
ziegl§§;e€ltly and Caz‘€l€:§:»;ly aperm€é ami maiz;l:a§z;ed tim minor vehicle Was Cip@rating §;uch llmi it

c¢:)ll§de<l with §le vehicle Plairzt§l‘"f\v:is amending

6

0®6598018-0VM.-(5@1¢£B[1MT]SS mmmq$z§§|edrl®§l®zd$fv@eel§ag& 6 of 7 PagEHBeGO

21 AS 21 direct and pr’a'):\'imate result tzl‘ the negligence \i)l` the tminsti;'ed defendant
lalml”ilzili .l¢:)l“i§t P:ml Stixz$ic)tz _. the plaintiff Pam@la l\f_lz;tri<: a\/lillcr, szaif`crccl bodily iztjz:ry send rc:sultit:§;
pairs metal §t:ll"t:rirzgl disability tii:;li§;t\r€:ms:m, iti::nt;tl p:ti;i and ziai§_.;ti§slt, lms \)i` cti§f)zi§:ity li'.lr llii:
enjt)ym€nt 05 lli`e, expense of hospitallzat§ori, medical and ntir§i:t§; <:az'tz tmtl tz'c;iime:it, logs of
earni:igs` loss Gl` ability t<) wm money and aggrava§it)n c)l` a pmvi@tlz‘;ly existing cortelititzrx. 'l`li¢:.
1059-es arts eitht>:‘ pe:zztanent czz‘ wmizauii§g ami Pla§iai§fl`wlll St)f`f`er the lrz.<::;te.<; in the iiimre:,

23 /»\t all tiz:z€::§ material lirzreiza, Plzzimi§`fwa$ lnz;ui‘£~<§ imth a policy of z'zwtl.\i" vehicle
insurance issued by Del`eric§;:am, Gezi<;iz Gc~meral lmurzmcc Company, and Sztitl pt)licy provided
usilnz;ure:d mi)tm'§.<;i Co\»c~:rag€, beating pt>li€:y rmmlzc‘z ll A l`)eclm'atitiii l"zige: evitlen€m§; such
covcrz\g€ §§ attach@d h€ret<ii as i§>;hibit "A", and made a part this C`mnplizint.

29 lite total iii all bodily injury liability izz§tiz”€la“iee available 35 a ree:ttlt r;)Fthe: Stibj€ct

i:tcidtmt is less them tim damages Stzstainetl by th<: pla§ztt§t"§`.

30. Pl:a§mi§f lssz Cczmpli::d wi€h all t:<m€;lit£<m$ preis@€§<~:n€ to the C<)ntr:ici fm ;)<.zl§cy
number '.
3}. lite ptifi<:y contract represents the entire agreement by the partics, inclzzd§ng the

rights and respt)zz§;ibilitics t)i` all pattitz:; in the rcs;t)lu€§€)zz mid §§ttlc:m€:nt t)i` ziccid€m»relaiecl
claims.

32. Plaim§i`l: l»"§izmlzi §\~'l§;rie Mill§:z't is an izaz;urcd per:;t)n, entitled 10 b€ii€iits midst the
ili‘iiiz§§ured l\/'§sz‘ist pa)r€itm €§i`the pailicy.

Wlit:rei`c)re, Plaintillt: l>zxm€:lz:i ?vlmit: Millt:i’ ., was Deii":mlzant, Giziw G€nci‘al l;ist)za§ec@
C$mparzy, aim demands ,§uc:lgiii<:m fm damages in an am::>tmi @:\'C@e<:ling Fil"tcen ’l"li<>nsand Dtillars,

axclzi,<;i\~»‘c <)l"ce?:z;t§, against tile :l::f€z§dtmt, mtd t§i:§i"m;;cls a trial byjur'y.

t’lmi:zl§t§`§ ;><)l©; zwm€:)et lms wefm lt»:\diz@te€l t>u!$uc::\l §G ?lG. l€. jw€l. Aijml€t. ZtliQ:'){<;illdl{H§ Whi€if: y:>mvi<:l@§
ibm clm§@m)l@c§ S@rz:;illv@ irs€<)tmc;s€len ii§t;~;é Wil¥i l§t€ <;Otir? must be Eiml?€z€l l<> “§tl¥:ez wsi iam §§Q§¥s cit any . . .
§mst;zc;mc& ;:+Ol`:cy ciccoz;n? numb€t",

7

0®6598018-0VM.-(5@1¢£B[1MT]SS mmmq$z§§|edrl®§{®zd$fv@eel§ag& 7 of 7 Pagela|§e@l 8

N{)Tl(:§ ()§? DES§CNATI()N i)F PR§MARY §§»»MA§L ADBRE$S
F`{)R S§ZRVIC?E€ BY EL¥§CTR{?NIC MA}L

¢l"§'fc law linn :)?` l<;€mp, Rugc and Gr<:z:n files ihl:; zlppc;l§"a:zcc a.~z mtm'ncy {)l" record fm
l’lzlinl.lfl`, , in eha zzl)i)v\':~:'~zt}fl€z;l causc., and pursuam to §"`,R..l»s\v 2,5 l <3` al<;§;lgnmcs the following C.-mlel

acidzcsg fm §e¥vicc by electronic zzzaili garvicef§l>kcm nwewrca:n.c=cml

 

Rc':$p<:a:tl`ully Szllvmltf<:cl,

STACY l§:§l\/‘EP., §SQUI.R§

FBN: (}€l§€'l§lfl

2§49 Well;)ili B€)ulevaz'el

Tr§ml}', Fl,, 3465:?

Ph<mc:: ('/’2?} 846"{)028 l~"ax; {?'2?) 3'?5»’73(3€)
Sc:wlc:e@l§€:m m"emccm.€x)m
A'FTGI{N EY §""OR YLAIN'I“EP lj

   

